                                   1

                                   2

                                   3

                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           EUREKA DIVISION

                                   7

                                   8        PAUL TREMBLAY, et al.,                           Case No. 23-cv-03223-AMO (RMI)
                                   9                      Plaintiffs,
                                                                                             ORDER RE: OUTSTANDING ISSUES
                                  10               v.                                        AS TO PLAINTIFFS’ REQUEST TO
                                                                                             COMPEL DOCUMENTS FROM NON-
                                  11        OPENAI, INC., et al.,                            PARTY MICROSOFT
                                  12                      Defendants.                        Re: Dkt. Nos. 267, 269, 334
Northern District of California
 United States District Court




                                  13

                                  14            Now pending before the court is the remainder of Plaintiffs’ request to compel certain

                                  15   information from non-party Microsoft regarding its investment in and collaboration with OpenAI.

                                  16   See generally Ltr. Br. (dkts. 267, 269). At a hearing on February 11, 2025, the court rendered oral

                                  17   rulings as to a number of the issues presented by the Parties’ submissions. See Tr. of Hearing (dkt.

                                  18   327) at 28-36. As to the issues that remained outstanding, the Parties were ordered to attempt to

                                  19   resolve those issues (see id. at 33-34), or to file a joint-statement setting forth any remaining

                                  20   disputes by February 19, 2025 (see dkt. 319). The Joint Statement (dkt. 334) has been filed and is

                                  21   now ripe for decision given that “Plaintiffs do not believe further meeting and conferring, briefing,

                                  22   or a hearing would be necessary in light of that focused request and the Court’s prior Order.” Id. at

                                  23   5.

                                  24            Plaintiffs report that, since the hearing of February 11, 2025, Microsoft has agreed to

                                  25   produce executed agreements related to the licensing of text-based training data and its agreements

                                  26   with OpenAI, however, a number of issues continue to remain in dispute. Id. at 1. Following the

                                  27   hearing, Plaintiffs and Microsoft engaged one another in an effort to apply the court’s guidance

                                  28   regarding the potential narrowing of any remaining issues. Id. However, rather than narrowing the
                                   1   remaining disputes, it appears that these efforts only widened the gulf between their respective

                                   2   positions as Plaintiffs believe the issues have been narrowed while Microsoft takes the view that

                                   3   “many of the Requests now seek entirely different documents than were previously requested,

                                   4   such as Request Nos. 1-3, 7, 8, and 16 that previously focused on documents exchanged with

                                   5   OpenAI but are now aimed at all of Microsoft’s internal documents regarding the requested topics,

                                   6   as well as Request No. 9, which is a completely new request not found anywhere in the original

                                   7   subpoena.” Id. at 2.

                                   8           In short, Plaintiffs submit that their narrowed requests1 seek internal documents from

                                   9   Microsoft because of the assertion that they “are of urgent relevance to Plaintiffs’ willfulness

                                  10   allegations against OpenAI, the commercial purpose behind the use of the data, the existence of a

                                  11   market, and to damages.” Id. at 4. The court finds that Plaintiffs’ relevance and proportionality

                                  12   justifications in this regard are similar to those they submitted in support of their request to compel
Northern District of California
 United States District Court




                                  13   non-party Reuters to produce its internal documents underlying its commercial dealings with

                                  14   Meta. See generally Order of March 5, 2025 (dkt. 378). While it is true that the Microsoft internal

                                  15   documents Plaintiffs seek most likely concern its dealings with Defendant OpenAI (as opposed to

                                  16   the totally unrelated internal documents Plaintiffs sought from Reuters about its dealings with

                                  17   Meta) – given that Plaintiffs seek this sort of confidential commercial discovery from a non-party,

                                  18   they would still have to make the same showing of substantial need in order to enforce their

                                  19   subpoena. See id. at 4. For the reasons stated by Microsoft (see Joint Statement (dkt. 334) at 5-6)

                                  20   the court finds that Plaintiffs have not met their burden.

                                  21           Upon further reflection, and upon careful consideration of the submissions, the court

                                  22   agrees with Microsoft’s contention that “Plaintiffs’ allegation that Microsoft’s internal documents

                                  23   could somehow be relevant to a willfulness claim against OpenAI also rings hollow.” Id. at 5. The

                                  24   court also agrees with Microsoft’s assertion that Plaintiffs’ belief that Microsoft is in possession of

                                  25   documents beyond those which Plaintiffs should seek from OpenAI appears too speculative. Id.

                                  26
                                  27   1
                                         Plaintiffs’ requests have been narrowed: to exclude profit-related requests; to exclude documents that are
                                  28   in OpenAI’s possession (something which seems burdensome for Microsoft to determine); and, to exclude
                                       documents that are entirely non-responsive to the issues in this case.
                                                                                            2
                                   1   Given that Microsoft has already agreed to produce data access agreements dated on or after

                                   2   January 1, 2019, that provide for Microsoft’s and/or OpenAI’s right to receive, access, and/or use

                                   3   text data in training Large Language Models, as well as its agreements with OpenAI – the court

                                   4   does not believe that Plaintiffs’ showing justifies any broader production from Microsoft at this

                                   5   juncture. Thus, to the extent stated at the hearing of February 11, 2025, and as set forth herein,

                                   6   Plaintiffs’ request is granted in part, denied in part.

                                   7          IT IS SO ORDERED.

                                   8   Dated: March 6, 2025

                                   9

                                  10
                                                                                                     ROBERT M. ILLMAN
                                  11                                                                 United States Magistrate Judge
                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         3
